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AO 450 (Rev.5/85) Judgment in a Civil Case




                                  United States District Court
                                                 District of Utah


RUSSELL G. GREER,
                                   Plaintiff,             JUDGMENT IN A CIVIL CASE
v.

JOSHUA MOON, an individual, and KIWI                      Case Number: 2:20-cv-00647-TC-JCB
FARMS, a website,

                                   Defendants.




IT IS ORDERED AND ADJUDGED that this case is dismissed with prejudice.




September 21, 2021                                    BY THE COURT:
Date

                                                      _____________________________________
                                                      U.S. District Judge Tena Campbell
